      Case: 1:14-cr-00546 Document #: 103 Filed: 01/06/18 Page 1 of 3 PageID #:401



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


UNITED STATES OF AMERICA                         )
                                                 )    No. 14 CR 456
                                                 )
                   v.                            )
                                                 )
NIKESH A. PATEL                                  )


                   GOVERNMENT’S EMERGENCY MOTION
            TO REVOKE BOND AND ISSUANCE OF ARREST WARRANT

            The United States of America, by its attorney, JOHN R. LAUSCH, United States

 Attorney for the Northern District of Illinois, pursuant to 18 U.S.C. § 3148, moves this

 Court for an order revoking defendant’s release and issuing a warrant for

 defendant’s arrest. In support thereof, the government states as follows:

      1.    D efendant was charged in a five-count indictment with wire fraud in United

States v. Nikesh Patel, 14 CR 456 in the Northern District of Illinois.

      2.    On October 9, 2014, defendant was admitted to bond in this matter. (R. 12).

Defendant affirmed that he was aware of the conditions of release and promised to obey

all conditions.

      3.    In addition to the standard conditions of release, defendant’s bond required that

he:

           a.   surrender any passport to Pre-Trial Services;
           b.   not obtain a passport or any other international travel document;
           c.   restrict his travel to the continental United States;
           d.   appear in Court as required; and
           e.   not violate any federal, state, or local laws, while on release. (Id.)
   Case: 1:14-cr-00546 Document #: 103 Filed: 01/06/18 Page 2 of 3 PageID #:402



   4. On December 02, 2015, the bond as set on October 9, 2014 was re-affirmed. (R.41).

   5. On December 6, 2016, Patel entered a plea of guilty to the indictment. (R. 65).

Patel was allowed to remain on bond pending sentencing.

   6.     Patel was ordered to appear on January 9, 2018 at 10:15 AM before U.S. District

court Judge Charles P. Kocoras (R. 101).

   7.     On January 5, 2018, Patel spoke with his Pre-Trial Services Officer in Florida and

confirmed that he was aware that he was scheduled to appear in the United States District

Court on January 9, 2018 for sentencing in his case.

   8.     On January 6, 2018, Patel traveled from his residence to the Kissimmee Gateway

Airport in Kissimmee, Florida for the purpose of fleeing the United States.

   9.     On January 6, 2018, Patel was in possession of a passport and or international

travel document, namely, a passport that appeared to be issued by the Government of

India, bearing Patel’s name, photograph, and date of birth. The passport bore an issuance

date of 11/01/10 and was valid through 10/01/20.

   10.     On January 6, 2018, Patel attempted to board a chartered aircraft for the purpose

of traveling to Ecuador, a destination outside the continental United States.

    11.    On January 6, 2018, Patel committed the offense of Unlawful Flight to Avoid

Prosecution, in violation of Title 18, United States Code, Section 1073.
   Case: 1:14-cr-00546 Document #: 103 Filed: 01/06/18 Page 3 of 3 PageID #:403



      WHEREFORE:          For the above stated reasons, the government respectfully

requests that this court revoke his bond and issue a warrant for his arrest.

                                         Respectfully submitted,

                                         Patrick J. King, Jr.______________
                                         Patrick J. King, Jr.
                                         Assistant United States Attorney
                                         219 S. Dearborn
                                         Chicago, IL 60604
                                         (312) 353-5341
